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             EXHIBIT D
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  JOHN DOE 1, et al.,                                 )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )        No. 1:23-cv-00542-SEB-MJD
                                                      )
  NATIONAL COLLEGIATE ATHLETIC                        )
  ASSOCIATION,                                        )
                                                      )
                               Defendant.             )




                     ORDER ON DEFENDANT'S MOTION TO COMPEL


         This matter is before the Court on Defendant's Motion to Compel Production of Plaintiffs'

  Non-Social Media ESI that Is Responsive to NCAA'S First, Second, and Third Sets of Requests

  for Production. [Dkt. 122]. For the reasons set forth below, the motion is GRANTED IN

  PART and DENIED IN PART.

         At issue in the instant motion is Plaintiffs' obligation to produce electronic documents

  responsive to Defendant's First, Second, and Third sets of document requests, which were served

  on August 18, 2023, December 7, 2023, and January 16, 2024, respectively. Plaintiffs do not

  dispute the relevancy of the discovery sought by Defendant. Plaintiffs also disavow any general

  undue burden argument. See [Dkt. 136 at 12] ("[T]he wholesale burden objection at the heart of

  the NCAA’s motion does not exist."). Rather, Plaintiffs' position appears to be that they are

  entitled to take as long as they want to produce the responsive documents because there are a lot

  of documents to obtain, search, and review.
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         Obviously that is not the case. Federal Rule of Civil Procedure 34(b)(2)(B) requires

  documents to be produced "no later than the time for inspection specified in the request or

  another reasonable time specified in the response."

         Under Fed. R. Civ. P. 34(b)(2)(B), a document "production must then be
         completed no later than the time for inspection specified in the request or another
         reasonable time specified in the response." (emphasis added). The Advisory
         Committee Notes to Fed. R. Civ. P. 34 state that "[w]hen it is necessary to make
         the production in stages the response should specify the beginning and end dates
         of the production." Fed. R. Civ. P. 34(b)(2)(B), Advisory Cmte. Notes, 2015
         amends. "Thus, Rule 34 plainly requires [the responding party] to specify the end
         date by which [it] will complete [its] production of documents." Deakin v.
         Magellan Health, Inc., 340 F.R.D. 424, 433 (D.N.M. 2022). See also Mass. Mut.
         Life Ins. Co. v. Reingold, 2020 WL 12016704, at *1 (C.D. Cal. Jan. 31, 2020)
         ("Responding parties must include deadlines for production. . . . Rule 26(e)
         provides no safe harbor to responding parties for belated productions that they
         could have made sooner with due diligence."); Maiorano v. Home Depot USA,
         Inc., 2017 WL 4792380, at *3 (S.D. Cal. Oct. 24, 2017) ("Home Depot's responses
         that it will be producing additional documents is insufficient under Rule
         34(b)(2)(B)."); CapRate Events, LLC v. Knobloch, 2018 WL 4378167, at *2
         (E.D.N.Y. Apr. 18, 2018) ("[T]o the extent that CapRate intends to produce
         documents it was required either to produce them on the date it served responses
         or provide a date on which it would make a production, and the form that
         production would take.")

  BioConvergence LLC v. Attariwala, 2023 WL 1859434, at *4 (S.D. Ind. 2023). Here, no

  response time was specified in the responses. See [Dkt. 123-1, 123-2, 123-3]. 1 Indeed, Plaintiffs

  still have not provided a date by which their production will be complete, other than the

  statement in their response brief that they "are on track to produce documents within the existing

  Court-ordered discovery deadlines." [Dkt. 136.] 2 This is clearly unreasonable; the discovery



  1
    The Court notes that when filing these exhibits, Defendant failed to comply with Local Rule 5-
  6(a)(2), which requires that attachments to motions be "given a title which describes its content."
  Defendant shall take care to strictly comply with this rule in the future, as the failure to do so
  impedes the Court's ability to efficiently review and resolve motions.
  2
    In the parties' Eighth Supplemental Joint Report on the Status of Discovery, filed April 1, 2024,
  [Dkt. 154], Plaintiffs state that they "anticipate completing search-term based production of
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  deadlines are for the competition of discovery, including all follow-up discovery that is prompted

  by the ESI production.

         That said, the Court finds that Plaintiffs have made some effort, albeit belated, to develop

  and begin to implement a reasonable search and review protocol with regard to the document

  requests at issue. This does not mean that the Court finds the protocol set forth in Plaintiffs'

  response brief to be wholly adequate or, as discussed below, even wholly explained. As

  Plaintiffs note, ESI discovery is typically an "iterative process," and the Court expects that this

  process will take place both as the rolling production occurs and after Plaintiffs' production

  ordered herein is complete. In other words, Plaintiffs' obligation to respond to the requests will

  not be satisfied by the completion of the protocol Plaintiffs have devised. The Court expects the

  parties to fully cooperate in the iterative process to make it as efficient as possible. To that end,

  the Court has reviewed the specific concerns raised by Defendant in their reply brief, [Dkt. 139

  at 8-18], and, quite frankly, finds that these are concerns that reasonable attorneys should be able

  to resolve among themselves with focused, good faith discussions. It is unfortunate that such

  discussions have not already taken place, but the Court is confident that they will now. As the

  rolling production continues and is reviewed by Defendant and the parties undertake the iterative

  process discussed above, the Court expects that each of these issues will be resolved. If they are

  not—or if new, intractable issues arise—the parties may seek Court assistance to resolve them, to

  include the filing of another motion to compel, if appropriate.




  nonsocial media ESI for Does 1-3 by the end of this week" and "estimate that their production of
  non-social media ESI for non-search term based review will be completed before depositions of
  Does 1-3 in May 2024," but that they "do not yet have a time estimate for completing production
  of nonsocial media ESI for Does 4-14." [Dkt. 154 at 2-3.]
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          Plaintiffs shall continue the protocol as described in their response brief and complete

  their production for Does 1-3 (the class representatives) by no later than May 6, 2024, and for

  the remaining Plaintiffs by no later than June 7, 2024, making no less than weekly rolling

  productions between now and those deadlines. If Plaintiffs have not completed their production

  by those deadlines, they will be required to produce all of the ESI that has not yet been reviewed

  for relevancy in its native format, subject to the same protections set forth in the Court's prior

  ordering regarding Plaintiffs' social media production, [Dkt. 117]. In addition, on May 6, 2024,

  Plaintiffs shall file the following certification, signed by counsel of record with personal

  knowledge and consistent with the certification provisions of Fed. R. Civ. P. 11(b):

          I hereby certify pursuant to the penalties for perjury that the protocol set forth in
          Docket Number 136 has been completed as to Plaintiff Does 1-3 and that all
          responsive documents identified by that protocol have been produced to
          Defendant.

  On June 7, 2024, Plaintiffs shall file the same certification with regard to the remaining Doe

  Plaintiffs.

          The Court understands the amount of work this will entail. However, Plaintiffs filed this

  case, and they are obligated to devote whatever resources are necessary to comply with their

  discovery obligations in this case, which includes completing their document production within a

  reasonable timeframe. See Ind. R. Prof. Conduct 3.4(d) ("A lawyer shall not . . . fail to make

  reasonably diligent effort to comply with a legally proper discovery request by an opposing

  party."); S.D. Ind. L.R. 83-5(f) ("The Indiana Rules of Professional Conduct . . . govern the

  conduct of those practicing in the court."). The deadlines set forth herein are more than generous

  given how long the document requests at issue have been outstanding.




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            Finally, to aid in the iterative process and to ensure that all parties and the Court fully

  understand the protocol Plaintiffs are implementing, counsel for Plaintiffs shall file a statement,

  consistent with the certification provisions of Fed. R. Civ. P. 11(b), that answers the following

  questions on or before April 15, 2024:

            1. Is a vendor being used by Plaintiffs to assist in the production of electronically stored

  information (ESI) in this case? If yes, identify the vendor.

            2. If an ESI vendor is being used, what specific instructions have been given to the

  vendor as to the parameters of the searches to be conducted (e.g. time frame, document locations,

  etc.)?

            3. If an ESI vendor is not being used, who is conducting the searches for ESI in this

  matter?

            4. If an ESI vendor is not being used, what specific instructions have been given to the

  individuals who are conducting searches for ESI in this matter as to the parameters of the

  searches to be conducted (e.g. time frame, document locations, etc.)?

            5. Explain in detail how the raw data was collected from each Plaintiff.

            6. State the total volume in gigabytes of electronically stored information gathered from

  each Plaintiff, e.g., "John Doe 1, __ GB."

            7. What specific search methods are being used to gather ESI from each Plaintiff?

            8. State in detail the precise search terms and date ranges that are being used and the

  specific data sets that are being searched with each term.

            9. Explain in detail the process that is being used to review the documents identified by

  the searches conducted for production.



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         10. Identify each individual who has participated in the review of the search results and

  briefly describe each such person's role in that process.

         11. Have Plaintiffs or their counsel deviated in any way from the Stipulation Regarding

  Discovery of Electronically Stored Information ("ESI") and Hard Copy Documents, [Dkt. 81]? If

  yes, describe in detail each such deviation.

         In addition, with regard to Plaintiff Does 1-3 on May 6, 2024, and with regard to the

  remaining Plaintiff Does on June 7, 2024, counsel for Plaintiffs shall file a statement, consistent

  with the certification provisions of Fed. R. Civ. P. 11(b), that answers the following question:

         1. With regard to each of the agreed search terms and date range parameters used by

  Plaintiffs to identify potentially responsive documents, identify (a) the number of documents

  identified by each search term on a custodian-by-custodian basis; (b) the number of the identified

  documents actually produced to Defendant on a custodian-by-custodian basis; (c) the number of

  the identified documents logged on Plaintiffs' privilege log on a custodian-by-custodian basis;

  and (d) the number of the identified documents determined to not be relevant and responsive on a

  custodian-by-custodian basis. The Court assumes that the total of categories (b), (c), and (d) will

  equal the number of document "hits" for each search term by custodian identified in category (a);

  if such is not the case, Plaintiffs should explain any discrepancy in detail.

         SO ORDERED.



         Dated: 8 APR 2024




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  Service will be made electronically on all
  ECF-registered counsel of record via email
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